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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 MANUEL DE JESUS ROSARIO,                          :
                                                   :
              Plaintiff,                           :    CIVIL ACTION NO. 15-CV-6049 (JSR)
                                                   :
 -against-                                         :
                                                   :
 MIS HIJOS DELI CORP., PALMA GROCERY               :
 CORP., 251 E. 123RD ST. REALTY, LLC,              :
 JOSE PALMA, LEONIDA COLLADO, and                  :
 JUNIOR PALMA,                                     :
                               Defendants.         :

                   PLAINTIFF’S NOTICE OF MOTION FOR CONTEMPT
       PLEASE TAKE NOTICE, that Plaintiff, by his attorneys, Ross & Asmar LLC, 499

Seventh Avenue, 23rd floor, New York, New York 10018, moves this Court at a time and date to

be set by the Court for an Order pursuant to 18 U.S.C. § 401 and the Court’s inherent authority

finding defendants 251 E. 123rd St. Realty, LLC, Jose Palma, and Jose Palma Junior s/h/a Junior

Palma in contempt of the Court’s March 12, 2020 Order [Document 166], granting Plaintiff limited

discovery of defendants’ communications with counsel to determine the extent of counsel’s

knowledge of and involvement in the transfer of the real property located at 251 E. 123rd Street,

New York, NY 10035, granting Plaintiff his costs and reasonable attorney’s fees for this motion

and for such other and further relief as the Court may deem just and proper.

Dated: New York, New York
       September 14, 2020
                                                       Respectfully submitted,
                                                       ROSS & ASMAR LLC


                                                       ___________________________
                                                       By: Steven B. Ross (SR 5059)
                                                       499 Seventh Avenue, 23rd Floor
                                                       New York, NY 10018
                                                       (212) 736-4202
                                                       steven@rossasmar.com
